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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


United States of America ex rel.
Mary Patzer,

                      Plaintiff,
               v.
                                                            Civil Action, File No. 11-C-560
SIKORSKY AIRCRAFT CORPORATION,
SIKORSKY SUPPORT SERVICES, INC., and
DERCO AEROSPACE, INC.

                      Defendants.


                    FIRST AMENDED COMPLAINT IN INTERVENTION OF
                            THE UNITED STATES OF AMERICA


       Pursuant to 31 U.S.C. § 3731(c), and Fed. R. Civ. P. 15(a)(1)(B), plaintiff United States of

America alleges as its Amended Complaint:

                                   A.      INTRODUCTION

       1.      This is an action by the United States of America under the False Claims Act, 31

U.S.C. § 3729 et seq., and under the common law theories of breach of contract and unjust

enrichment. The defendants are Sikorsky Aircraft Corporation (SAC) and two of its subsidiaries,

Sikorsky Support Services, Inc. (SSSI), and Derco Aerospace, Inc. (Derco).

       2.      As set forth in greater detail below, this case involves a deliberate scheme to

defraud the United States through the use of an illegal cost-plus-a-percentage-of-cost subcontract

that was used to fulfill, in part, a Navy prime contract. The cost-plus-a-percentage-of-cost form

of contracting or subcontracting in matters where the United States is the final customer is

expressly prohibited by applicable federal law, see 10 U.S.C. § 2306(a); 41 U.S.C. § 3905(a)

(2011) (formerly 41 U.S.C § 254(b)); and the Federal Acquisition Regulations (FAR), see 48 CFR.




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52.244-2(h); and such contracts or sub-contracts are void ab initio because they violate public

policy. See Urban Data Systems, Inc. v. United States, 699 F.2d 1147, 1150 (Fed.Cir. 1983).

                            B.       JURISDICTION AND VENUE

       3.      Because the United States is the plaintiff in this action, jurisdiction over this action

is conferred by 28 U.S.C. §1345.

       4.      Because at least one defendant resides and transacts business in this district, venue

over this action is conferred by 31 U.S.C. §3732(a).

                                         C.      PARTIES

       5.      The Plaintiff is the United States of America (United States or Government).

       6.      The Plaintiff-Relator is Mary J. Patzer (Patzer), a citizen and resident of Sun

Prairie, Wisconsin. On or about June 10, 2011, Patzer filed a complaint on behalf of the United

States under the qui tam provisions of the False Claims Act, 31 U.S.C. § 3729 et seq.(FCA).

       7.      Defendant Sikorsky Aircraft Corporation (SAC) is a Delaware corporation with a

principle corporate office in Stratford, Connecticut. Inter alia, SAC holds itself out as a “world

leader in the design, manufacture, and service of military and commercial helicopters, fixed-wing

aircraft, spare parts and maintenance, repair and overhaul services for helicopters and fixed-wing

aircraft….”

       8.      Prior to 2006 and until on or about February 24, 2008, SAC did business as and

used the fictitious business names “Worldwide Customer Service” and “WCS.” On or about

February 24, 2008 SAC discontinued the use of the Worldwide Customer Service and WCS names

and began doing business as and using the fictitious business names “Sikorsky Aerospace

Services” and “SAS.”




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       9.      Defendant Sikorsky Support Services, Inc. (SSSI) is a Delaware corporation with a

principle corporate office located in Stratford, Connecticut. SSSI is a wholly-owned subsidiary

of SAC. Inter alia, SSSI holds itself out as “the service subsidiary of Sikorsky Aircraft Corp….

providing cost efficient aviation maintenance, logistics, and technical services….”

       10.     Defendant Derco Aerospace, Inc. (Derco) is a Wisconsin corporation with a

principle business corporate office in Milwaukee, Wisconsin.          Derco is a wholly-owned

subsidiary of SAC. Inter alia, Derco holds itself out as a “world leader in providing aircraft

spares distribution, logistics solutions, repair services, and technical solutions to military and

commercial customers around the globe.”

                              D.     THE FALSE CLAIMS ACT

       11.     The FCA, 31 U.S.C. §§ 3729-33, provides for the award of treble damages and civil

penalties for certain specified acts. The FCA was amended pursuant to Public Law 111-21, the

Fraud Enforcement and Recovery Act of 2009 (FERA), enacted May 20, 2009. With certain

exceptions, the FERA amendments apply only to conduct occurring on or after May 20, 20091 As

the conduct as issue in this case occurred both before and after May 20, 2009, this complaint

expressly incorporates both the pre-FERA and post-FERA provisions of the FCA, as applicable.

       12.     The pre-FERA FCA provides, in pertinent part, that:

               (a) Any person who
                      (1) knowingly presents, or causes to be presented, to an
                      officer or employee of the United States Government or a



   1 Section 4(f) of FERA provides. “The amendments made by this section shall take effect on
   the date of enactment of the Act [May 20, 2009] and shall apply to conduct on or after the date
   of enactment, except that (1) subparagraph (B) of section 3729(a)(1), as added by subsection
   (a)(1), shall take effect as if enacted on June 7, 2008, and apply to all claims under the False
   Claims Act (31 U.S.C. § 3729 et seq.) that are pending on or after that date . . . .”

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                     member of the Armed Forces of the United States a false or
                     fraudulent claim for payment or approval;
                     (2) knowingly makes, uses, or causes to be made or used, a
                     false record or statement to get a false or fraudulent claim
                     paid or approved by the Government;
                     *** or
                     (7) knowingly makes, uses, or causes to be made or used, a
                     false record or statement to conceal, avoid, or decrease an
                     obligation to pay or transmit money or property to the
                     Government. . .

              ***

              is liable to the United States Government for a civil penalty of not
              less than $5,000 and not more than $10,000, plus 3 times the amount
              of damages which the Government sustains because of the act of
              that person . . . .

              (b) For purposes of this section, the terms “knowing” and
              “knowingly” mean that a person, with respect to information (1) has
              actual knowledge of the information; (2) acts in deliberate
              ignorance of the truth or falsity of the information; or (3) acts in
              reckless disregard of the truth or falsity of the information, and no
              proof of specific intent to defraud is required.

31 U.S.C. § 3729 (1986).

       13.    The post-FERA FCA provides, in pertinent part, that:

              (a) LIABILITY FOR CERTAIN ACTS.—
                 (1) IN GENERAL * * * [A]ny person who –
                     (A) knowingly presents, or causes to be presented, a false or
                     fraudulent claim for payment or approval;
                     (B) knowingly makes, uses, or causes to be made or used, a
                     false record or statement material to a false or fraudulent
                     claim;
                     * * * or
                     (G) knowingly makes, uses, or causes to be made or used, a
                     false record or statement material to an obligation to pay or
                     transmit money or property to the Government, or
                     knowingly conceals or knowingly and improperly avoids or
                     decreases an obligation to pay or transmit money or property
                     to the Government,

              ***


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               is liable to the United States Government for a civil penalty of not
               less than $5,000 and not more than $10,000, as adjusted by the
               Federal Civil Penalties Inflation Adjustment Act of 1990 (28 U.S.C.
               2461 note; Public Law 104-410), plus 3 times the amount of
               damages which the Government sustains because of the act of that
               person.

               (b) For purposes of this section, (1) the terms “knowing” and
               “knowingly” mean – (A) that a person, with respect to information –
               (i) has actual knowledge of the information; (ii) acts in deliberate
               ignorance of the truth or falsity of the information; or (iii) acts in
               reckless disregard of the truth or falsity of the information; and (B)
               require no proof of specific intent to defraud . . . .

31 U.S.C. § 3729.

       14.     The standard of proof under both the pre-FERA and post-FERA versions of the

FCA is preponderance of the evidence. 31 U.S.C. § 3731(c) (1986); 31 U.S.C. § 3731(d) (2009).

                               E.    THE NAVY SOLICITATION

       15.     On November 9, 2005, the United States Navy’s Naval Airsystems Command

(Navy) issued Solicitation No. 00019-05-R-0046 (the Solicitation) requesting proposals for an

indefinite delivery, indefinite quantity requirements contract related to the maintenance of Navy

T-34, T-44 and T-6 aircraft.

       16.     The Solicitation was for a Basic Performance Period to be followed by four Navy

Options and included a mixture of Firm Fixed Price, Labor Hour and Cost Reimbursable services

and supplies, each of which was denoted with a Contract Line Item Number (CLIN) and, in some

instances, further denoted with a Sub-CLIN (SLIN).

       17.     The Solicitation, at Section B-2, specified that CLINs X023 (“T-34 Parts and

Material”) and CLINs X045 (“T-44 Parts and Material”) were “Cost Reimbursable.”

       18.     In pertinent part, the Solicitation, at Section B-5, “Pricing Notes” stated in

subparagraph f as follows:


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               f. T-35/T-44 Parts/Material * * *, CLIN’s [sic] X023 [and] X045.
               The CLINs are COST REIMBURSABLE. * * * The Government
               will reimburse the Contractor for the allowable actual cost of
               purchase and replenishment of direct parts and material, vendor
               repair services, and attendant shipping costs that are necessary for
               the performance of the work requirements of this contract, up to the
               funding ceiling * * * * The Contractor shall acquire materials at
               the most advantageous prices available with due regard to securing
               prompt delivery of satisfactory materials * * * * For parts and
               material or services procured from a vendor, the actual cost shall be
               the actual catalog/market price from the vendor. Fee/profit is
               UNALLOWABLE on the actual price of parts, material and
               shipping costs. The Contractor shall be allowed its actual shipping
               costs. * * *[T]he Contractor shall be allowed its normal material
               burdens in accordance with FAR 52.216-7, “Allowable Cost and
               Payment,” and actual shipping costs. Offerors shall complete the
               Exhibit C table by proposing all of their approved indirect costs and
               applicable burdens for these CLINs. Offerors shall determine the
               proposed amount to be provided in the Section B Schedule [where
               the offerors specified their proposed costs] for these CLINs by
               adding their indirect rates and applicable burdens from Exhibit C to
               the Government estimated amounts provided in Exhibit C for
               evaluation purposes. Note: Any subcontract labor associated
               with fixed price or labor hour CLINs shall be included in those
               CLINs and not the cost reimbursable CLINs.

       19.     The Solicitation also included the full text of FAR 52.244-2 (AUG 1988), 48 CFR

52.244-2, which, in pertinent part, provided as follows:

               h. No subcontract or modification thereof placed under this contract
               shall provide for payment on a cost-plus-a-percentage-of-cost
               basis….

       20.     The Solicitation also included the full text of FAR 52.230-1 (JUN 2000), 48 CFR

52.230-1, which, in pertinent part, provided as follows:

               (a) Any contract in excess of $500,000 resulting from this
                   solicitation will be subject to the requirements of the Cost
                   Accounting Standards Board * * * *
               (b) Any Offeror submitting a proposal * * * must, as a condition of
                   contracting, submit a Disclosure Statement as required by 48
                   CFR 9903.202. When required, the Disclosure Statement must
                   be submitted as part of the Offeror’s proposal under this
                   solicitation unless the Offeror has already submitted a
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                     Disclosure Statement disclosing the practices used in
                     connection with the pricing of this proposal. If an applicable
                     Disclosure Statement has already been submitted, the Offeror
                     may satisfy the requirement for submission by providing the
                     information requested in paragraph (c) * * * *.
                 (c) Check the appropriate box below:
                     ***
                     (2) Certificate of Previously Submitted Disclosure Statement.

                        The Offeror hereby certifies that the required Disclosure
                        Statement was filed as follows:

                        Date of Disclosure Statement: _______________________
                        Name and Address of Cognizant ACO or Federal Official
                        Where                                           Filed:
                        _______________________________________

                        The Offeror further certifies that the practices used in
                        estimating costs in pricing this proposal are consistent with
                        the cost accounting practices disclosed in the applicable
                        Disclosure Statement.

         21.     The Solicitation also incorporated by reference FAR 52.230-2, Cost Accounting

Standards (APR 1998), 48 CFR 52.230-2, which, in pertinent part, provided as follows:

                 (a) * * * [T]he Contractor, in connection with this contract, shall—

                        (1) * * * By submission of a Disclosure Statement, disclose
                        in writing the Contractor’s cost accounting practices * * * *
                        (2) Follow consistently the Contractor’s cost accounting
                        practices in accumulating and reporting performance cost
                        data concerning this contract.
                 ***
                 (d) The Contractor shall include in all negotiated subcontracts
                 which the Contractor enters into, the substance of this clause * * *
                 and shall require such inclusion in all other subcontracts of any tier
                 ****

    F.         OFFICIALS OF SAC, SSSI AND DERCO AGREE TO PAY DERCO ON A
                     COST-PLUS-A-PERCENTAGE-OF-COST BASIS

         22.     By no later than December 2005, officials of SAC, SSSI and Derco had reviewed

the Solicitation and settled on a proposal strategy to use Derco as a logistics and materials supply


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subcontractor in order to inflate the price of materials charged to the contract by paying Derco on a

cost-plus-a-percentage-of-cost-basis. This plan was the idea of William Ochsner, who was a high

level official within SAC and SSSI as well as the President of Derco, who decided that no other

contractor be considered as SSSI’s logistics and materials supply subcontractor.

        23.     Questions about the legality of the plan were raised by a Derco employee, Phil Bail.

In response, Ochsner announced in a conference call in the presence of Bail, George Sprinsteen

(SSSI’s General Manager), Mark Hoehnen (a Derco executive), Barry Nester (an SSSI executive)

and Markus Heinrich (a Derco executive) that he knew the proposal would be “non-compliant”

with the Solicitation.

        24.     Ochsner’s plan was to promote the use of Derco to the Navy in the proposal as a

way to ensure the Navy got the best possible prices on the parts and materials. In reality, Ochsner

knew the use of Derco provided little if any benefit to the Navy and his real purpose was to use

Derco in order to greatly increase the prices the Navy would pay for the cost reimbursable parts

and materials in CLINs X023 and X045 and thereby increase the profits to be made by SAC, SSSI

and Derco. This deliberate scheme to defraud would be accomplished by paying Derco on a

cost-plus-a-percentage-of-cost basis for material it ordered from vendors. This plan would be

hidden from the Navy because, with respect to the cost reimbursable CLINS X023 and X045, the

Solicitation, Section B-5.f., only required the offeror to disclose its own indirect rates as applied to

the government provided estimate of material costs.

        25.     Once the contract was awarded to SSSI, the plan as put into effect was for SSSI

employees stationed at the Navy facilities in Corpus Christi, Texas, and Pensacola, Florida (where

the aircraft were being operated and maintained) to determine what parts were needed and to pass

this information electronically to Derco in Milwaukee, Wisconsin. Derco would then place an


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order for the necessary parts to the vendors (in some instances a sole-source provider) at the

vendors’ catalog or market price. Derco’s order would instruct the vendors to ship the part

directly to SSSI at the Navy facility where the part was needed, but to send the vendors’ invoices to

Derco’s Milwaukee, Wisconsin headquarters. Derco would then pay the vendors’ invoices itself

and create a new invoice by taking the vendors’ invoice price (i.e. the cost to Derco) and adding a

percentage of that cost (agreed to by SAC, SSSI, and Derco) to the vendors’ invoice prices to

arrive at the amount Derco put on its invoice to SSSI. After Derco submitted its invoice to SSSI,

SSSI would submit a public voucher to the United States seeking reimbursement of Derco’s

charges plus SSSI’s then applicable General and Administrative (G&A) rate. SSSI’s public

voucher would include a copy of Derco’s invoice (but not the vendors’ original invoices to Derco).

       26.     On or about January 5, 2006, officials of SAC and SSSI approved and signed an

internal document, called a “Cost Sheet,” setting forth the proposed price elements that would

comprise the SSSI proposal. The officials of SAC andSSSI who signed the Cost Sheet and the

titles they held in the companies at issue were as follows:

          NAME                               TITLE(S) HELD                       COMPANY
       David Adler         Senior Vice President                              SAC d/b/a WCS
                           Vice President                                     SSSI
       Paul Benedetto      Finance Director                                   SAC d/b/a WCS
       Steven Finger       President                                          SAC
       Richard J.          Vice President & Chief Financial Officer           SAC
       Pierpont
       Sam Mehta           Associate Counsel                                  SAC d/b/a WCS

       27.     One of these proposed price elements on the Cost Sheet was for “material,” which

included the T-34 and T-44 aircraft parts and materials subject to the pricing notes in Section

B-5.f. of the Solicitation. Although Section B-5.f. of the Solicitation provided these parts were

“COST REIMBURSABLE,” that the allowable cost for such parts was “the actual catalog/market

prices from the vendor” and that “[f]ee/profit is UNALLOWABLE on the actual price of parts,
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material and shipping costs,” the Cost Sheet nevertheless indicated that the price of such material

would be marked up 22% above its cost.

       28.         Thus, by no later than January 5, 2006, officials at SAC and, SSSI had agreed

Derco would be paid on a cost-plus-a-percentage-of-cost basis that would apply a markup to

material that the Solicitation specified was cost reimbursable at the vendor’s catalog or market

price only.

              G.      SAC OFFICIALS SIGN AND SUBMIT THE SSSI PROPOSAL

       29.         On January 17, 2006, David Adler (one of the signatories to the Cost Sheet), using

SSSI stationary, signed a letter enclosing and submitting SSSI’s proposal to the Navy. Mr. Adler

signed this letter using the title “Senior Vice President.” At that time, Mr. Alder was an employee

of SAC with the title of “Senior Vice President –WCS.” At the time, Mr. Adler’s title with SSSI

was “Vice President.”

       30.         Mr. Adler’s letter stated that each of four principal subcontractors (including

Derco) that SSSI had selected had been chosen “through a careful process modeled after the

Navy’s prime contractor selection process,” and that related corporate entities (like Derco) were

only chosen if a “better value solution” from an outside contractor was unavailable. As applied to

Derco, these statements were knowingly false. Derco was chosen without considering outside

contractors and was selected not because it assured the Navy of better value than other options but

because Derco provided SAC and SSSI with a convenient way to hide the fact that they planned on

charging the Navy far higher prices than it could charge if SSSI itself ordered the parts directly

from the vendors.

       31.         The proposal enclosed with Mr. Adler’s letter was set forth on a standard

government form, known as an SF 33, which was executed on behalf of SSSI by Richard J.


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Pierpont (another of the signatories to the Cost Sheet) using the titles “Vice President –Finance”

and “Chief Financial Officer.” At the time, Mr. Pierpont was an employee of SAC who held the

titles “Vice President-Finance” and “Chief Financial Officer.” Mr. Pierpont was not an officer of

SSSI on January 17, 2006.

       32.     The proposal signed by Mr. Pierpont (and submitted by Mr. Adler on behalf of

SSSI) provided as follows:

               The Offeror hereby certifies that the required Disclosure Statement
               was filed as follows: January 15, 2004 * * * The Offeror further
               certifies that the practices used in estimating costs in pricing this
               proposal are consistent with the cost accounting practices disclosed
               in the applicable Disclosure Statement.

       33.     As required by applicable Federal Cost Accounting Standards (CAS), SSSI’s

January 15, 2004 Disclosure Statement contained provisions explaining SSSI’s accounting

practices relating to interorganizational transfers and in particular how SSSI would charge Federal

contracts where material was transferred to SSSI from related organizations. With regard to

interorganizational transfers in, SSSI’s January 15, 2004 Disclosure Statement explained that such

transfers (and the resulting charge to the government) would be at cost (including the transferor’s

G&A) unless the item qualified as a commercial item and the transferor had established catalog,

market or competitive prices for a given product or service sold in substantial quantities to the

general public or where adequate competition existed, in which case the transfer price and the

basis for the subsequent charge to the Government would be at that catalog, market or competitive

price. SSSI’s January 15, 2004 Disclosure Statement did not indicate that interorganizational

transfers (and the basis for the resulting charge to the Government) would ever be on a

cost-plus-a-percentage-of-cost basis and in fact transfers on such a basis are prohibited by 10




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U.S.C. § 2306(a); 41 U.S.C. § 3905(a) (2011) (formerly 41 U.S.C § 254(b)); and by FAR

52.-244-2(h), 48 CFR. 52.244-2(h).

       34.     The proposal executed by Mr. Pierpont and submitted by Mr. Adler also certified,

in accordance with FAR 52.230-2, 48 CFR 52.230-2, that:

               (a)    * * * [T]he Contractor, in connection with this contract,
               shall—

               (1) * * * By submission of a Disclosure Statement, disclose in
               writing the Contractor’s cost accounting practices * * * *
               (2) Follow consistently the Contractor’s cost accounting practices
               in accumulating and reporting performance cost data concerning
               this contract

       35.     At the time these certifications were made, on January 17, 2006, SAC, SSSI and

Derco had already determined that SSSI would pay Derco and charge the Government on a

cost-plus-a-percentage-of-cost basis in violation of SSSI’s January 15, 2004 Disclosure Statement

and the proposal’s certification of compliance with FAR 52.230-2 in the proposal. Accordingly,

this certification was knowingly false.

        H.     SAC OFFICIALS EXECUTE THE CONTRACT WITH THE NAVY

       36.     On June 1, 2006, after notification that the Navy had accepted SSSI’s proposal,

David Adler, “Senior Vice President –WCS,” executed contract no. N00019-06-D-0017 with the

Navy on behalf of SSSI.

       37.     The contract included the full text of FAR 52.244-2 (AUG 1988), 48 CFR

52.244-2, which, in pertinent part, provided as follows:

               h. No subcontract or modification thereof placed under this contract
               shall provide for payment on a cost-plus-a-percentage-of-cost
               basis….




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       38.    The contract also incorporated by reference FAR 52.230-2, Cost Accounting

Standards (APR 1998), 48 CFR 52.230-2, which in pertinent part provided as follows:

              (b) * * * [T]he Contractor, in connection with this contract, shall—

                      (1) * * * By submission of a Disclosure Statement, disclose
                      in writing the Contractor’s cost accounting practices * * * *
                      (2) Follow consistently the Contractor’s cost accounting
                      practices in accumulating and reporting performance cost
                      data concerning this contract.
              ***
              (d) The Contractor shall include in all negotiated subcontracts
              which the Contractor enters into, the substance of this clause * * *
              and shall require such inclusion in all other subcontracts of any tier
              ****

       39.    The contract also included the following language at Section B-5:

              f. T-35/T-44 Parts/Material * * *, CLIN’s [sic] X023 [and] X045.
              The CLINs are COST REIMBURSABLE. * * * The Government
              will reimburse the Contractor for the allowable actual cost of
              purchase and replenishment of direct parts and material, vendor
              repair services, and attendant shipping costs that are necessary for
              the performance of the work requirements of this contract, up to the
              funding ceiling * * * * The Contractor shall acquire materials at
              the most advantageous prices available with due regard to securing
              prompt delivery of satisfactory materials * * * * For parts and
              material or services procured from a vendor, the actual cost shall be
              the actual catalog/market price from the vendor. Fee/profit is
              UNALLOWABLE on the actual price of parts, material and
              shipping costs. The Contractor shall be allowed its actual shipping
              costs. * * *[T]he Contractor shall be allowed its normal material
              burdens in accordance with FAR 52.216-7, “Allowable Cost and
              Payment,” and actual shipping costs. Offerors shall complete the
              Exhibit C table by proposing all of their approved indirect costs and
              applicable burdens for these CLINs. Offerors shall determine the
              proposed amount to be provided in the Section B Schedule [where
              the offerors specified their proposed costs] for these CLINs by
              adding their indirect rates and applicable burdens from Exhibit C to
              the Government estimated amounts provided in Exhibit C for
              evaluation purposes. Note: Any subcontract labor associated
              with fixed price or labor hour CLINs shall be included in those
              CLINs and not the cost reimbursable CLINs.



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          40.    At the time Mr. Adler executed the contract on behalf of SSSI, SAC and SSSI had

no intention of following either SSSI’s disclosed cost accounting practices as set forth on its

January 1, 2004 Disclosure Statement, FAR 52.244-2(h)’s prohibition on cost-plus-a-

percentage-of-cost subcontracts, or the pricing terms set forth in Section B-5(f) of the contract.

          41.    At the time the Navy awarded and executed the contract with SSSI, the United

States was unaware of SAC, SSSI and Derco’s agreement to pay Derco on a

cost-plus-a-percentage-of-cost basis.

    I.        DERCO AND SSSI MEMORIALIZE THEIR AGREEMENT AND THEN
             EXECUTE A SECOND VERSION TO HIDE THE ILLEGAL TERMS

          42.    Shortly after contract N00019-06-D-0017 went into effect, Derco began submitting

invoices containing cost-plus-a-percentage-of-cost charges to SSSI. SSSI officials, including

William Ochsner and Robert Schulman, knew Derco’s invoices were based on cost-plus-a-

percentage-of-cost charges.      Instead of a 22% markup on material as had been originally

approved in the Cost Sheet, however, Derco marked up its costs by a total of 32%.

          43.    The increase in Derco’s markup from 22% to 32% was approved by William

Ochsner, who at the time was President of Derco and a high level officer of SSSI and SAC. It was

also known by Robert Schulman of SSSI, George Springsteen, of SSSI, William Aspell of Derco,

and Phil Bail of Derco.

          44.    On August 30, 2006, Derco and SSSI executed a written subcontract agreement

memorializing the terms under which Derco had provided and would provide “Contractor

Logistics Support for the T-34/T-44/T-6A aircraft” to SSSI under contract N00016-06-D-0017.

The subcontract agreement was signed on August 30. 2006 on behalf of SSSI by George

Springsteen, its General Manager, and on behalf of Derco by James Aspell, its Vice President –



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Program Management.           Although signed on August 30. 2006, the subcontract agreement

specified its effective date was June 30, 2006.

       45.     Among other matters, the executed subcontract agreement between SSSI and

Derco signed on August 30, 2006 acknowledged that the work to be performed by Derco was

being funded by a government contract and that neither the material nor services to be provided by

Derco qualified as commercial items or services under applicable regulations.

       46.     The executed subcontract agreement between SSSI and Derco signed on August

30, 2006 also contained an Attachment 3, titled “Prime Contract Terms and Conditions – Flow

Down,” which was incorporated by reference into the executed subcontract agreement. Among

other things, Attachment 3 included the full-text the language of FAR 52.244-2 (Aug.1988), which

provided in pertinent part:

               h. No subcontract or modification thereof placed under this contract
               shall provide for payment on a cost-plus-a-percentage-of-cost
               basis….

       47.     In direct violation of this term, the executed subcontract agreement signed on

August 30, 2006 further provided at Section 6.3:

               Each firm fixed priced invoice shall specify the items billed and
               include the Derco agreed to markup of thirty-two percent added to
               the vendor cost.

       48.     On August 31, 2006, Springsteen and Aspell executed a second version of the

subcontract agreement, identical in most respects to the version signed on August 30, 2006, but

which deleted any reference to the 32% markup Derco added to its vendor costs to arrive at its

invoice prices. Accordingly, the sentence in Section 6.3 was revised in the August 31, 2006

version to read:

               Each firm fixed priced invoice shall specify the items billed.


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         49.    Despite removing the reference to Derco’s 32% markup to its vendor costs in the

August 31, 2006 version of the executed subcontract agreement, both Derco and SSSI knew when

they executed the August 31, 2006 version of the agreement that they had not agreed on any firm

fixed prices. Derco and SSSI also both knew that Derco’s invoice prices would be the cost Derco

paid its vendors plus 32%.

  J.    DERCO KNOWINGLY SUBMITTED COST- PLUS- A –PERCENTAGE- OF
 -COST BASED CHARGES ON ITS INVOICES TO SSSI WHICH SSSI KNOWINGLY
     SUBMITTED FOR PAYMENT ALONG WITH ITS OWN PUBLIC VOUCHERS

         50.    With the knowledge and approval of officials of SAC and SSSI, including William

Ochsner (an executive with Derco, SSSI and SAC), James Aspell (Derco), Richard Shulman

(SSSI), and George Springsteen (SSSI), Derco created the prices on the invoices listed on Ex. A

(Doc. No. 44-1) by taking the prices Derco received from its vendors and adding 32% thereto, as

was originally described in the first version of the subcontract agreement executed on August 30,

2006.

         51.    SSSI, with full knowledge of Derco’s cost-plus-a-percentage-of-cost pricing,

submitted public vouchers for payment to the United States seeking payment of or reimbursement

for Derco’s charges. A list of the public vouchers SSSI submitted for payment to the United

States is set forth in Ex. B (Doc. No. 44-2). Attached to SSSI’s public vouchers were copies of

Derco’s invoices to SSSI. A list of Derco’s invoices to SSSI is identified in Ex. A (Doc. No.

44-1). SSSI’s prices in its public vouchers were the Derco invoice price (which SSSI knew was

Derco’s costs plus 32% percent of those costs), plus SSSI’s then-applicable G&A rate. SSSI

submitted claims for payment to the United States for reimbursement of these charges which SSSI

knew were inflated and false.




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    K.         SSSI Falsely Explained The Basis For Derco’s Charges To The United States

         52.      On or about July 30, 2009, SSSI submitted for payment to the United States public

voucher number BVN2573 in the amount of $91,434,18. A spreadsheet attached to this public

voucher showed the total charges were split between $88,599.01 in charges for parts plus

$2,835.17 representing SSSI’s applicable G&A rate.

         53.      David Lamb of the Defense Contract Management Agency, who at that time was

the Administrative Contracting Officer assigned to contract N00019-06-D-0017, sought

clarification of these charges from SSSI. On August 4, 2009, ACO Lamb emailed Robert

Shulman of SSSI asking him to provide an answer to the following question about BVN2573:

                  I am using this cost voucher [BVN2573] as an example of parts and
                  material vouchers identified as “DERCO P&M [Parts & Material]”
                  so that I may understand what is being charged.

                  This $91,434.18 voucher [BVN2573] contained a spreadsheet
                  showing $88,599.01 in parts plus the usual 3.2% G&A, $2,835.17.

                  I understand that Derco Aerospace Inc. is a sister subsidiary with
                  Sikorsky Aerospace Maintenance of Sikorsky Aircraft Corporation
                  and is the parts supplier for contract N00019-06-D-0017, but not the
                  manufacturer of the parts.

                  My question is what does the $88,599.01 consist of? Is it just what
                  Derco paid for the parts or is it what Derco paid for the parts plus
                  some mark-up.
                  If so what is the mark-up?

         54.      Schulman knew that Derco was charging SSSI the cost Derco paid its vendors for

the parts plus 32% of those costs. Schulman feared, however, that if he provided this information

in a truthful answer to ACO Lamb, the United States would not have paid public voucher

BVN2573 or any future public voucher submitted by SSSI that included a request to reimburse

SSSI for charges based on Derco’s cost-plus-thirty-two-percent –of- cost charges. Schulman also

feared that if he answered ACO Lamb’s question truthfully, the United States would require SSSI
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to repay the United States for all of SSSI’s public vouchers that the United States had already paid

and which included Derco’s cost-plus-a-percentage-of-cost charges

       55.     On August 5, 2009, to ensure the payment of public voucher BVN2573 and future

public vouchers and to avoid having to repay the United States for previously paid public

vouchers, SSSI’s Shulman responded to the question in ACO Lamb’s August 4, 2009 as follows:

               Derco is a Government directed subcontractor that sells material to
               SAM at FFP. SAM only puts G&A on the FFP. How Derco
               builds up the FFP is a question for the DCAA office assigned to
               Derco.

       56.     The “SAM” referenced in Schulman’s email was Sikorsky Aircraft Management, a

division of SSSI. In addition, the abbreviation “FFP” in Schulman’s email was an abbreviation

for Firm Fixed Price.

       57.     The statement in Schulman’s August 5, 2009 email that Derco sold parts to SAM at

FFP was known to be false by Schulman. In addition, the suggestion in Schulman’s email that he

could not answer the question of how Derco built up its prices was also known by Schulman to be

false. Specifically, Schulman knew Derco did not sell to SSSI on a firm fixed price basis and

further knew that Derco marked up the cost of parts from its vendor by 32% before sending

Derco’s invoices to SSSI.

               L.       SSSI Falsely Certified Its Indirect Cost Rate Proposals

       58.     On a yearly basis, SSSI submits to the Defense Contract Audit Agency a Certified

Indirect Cost Rate Proposal. Among other things, this Certified Indirect Cost Rate Proposal is

used to finalize the provisional indirect rates that SSSI has used in the prior year to bill the

government on contracts where SSSI’s billing depends, in part, on its indirect rates. Contract

N00019-06-D-0017 is an example of a contract where SSSI’s billing to the government depended,



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in part, on its indirect rates because SSSI was permitted to add its G&A indirect rate to the costs it

paid for the cost reimbursable CLINs X023 and X045 thereunder.

       59.      SSSI filed “Certified Indirect Cost Rate Proposals” for each of CY2006 through

CY2012 that covered periods during which SSSI was submitting public vouchers under contract

N00019-06-D-0017, based in part on its G&A rate

       60.      Each of SSSI’s annual “Certified Indirect Cost Rate Proposals” contained an

express certification that the costs used to calculate the final indirect rate were based only on costs

that are allowable and did not include any unallowable costs. The text of this certification varied

only by the subject Calendar Year (CY), the date it was submitted, and the name, title and

signature of the individual making the certification on behalf of SSSI. It provided in pertinent

part as follows:

                This is to certify that I have reviewed this proposal to establish final
                indirect cost rates and to the best of my knowledge and belief:

                1   All costs included in this proposal titled CY20__ SSS –
                    Maintenance Services Division Certified Indirect Cost Rates
                    dated ________ to establish final indirect cost rates for Calendar
                    Year 20__ are allowable in accordance with the cost principles
                    of the Federal Acquisition Regulation (FAR) and its
                    supplements applicable to the contract to which the final indirect
                    cost rates will apply;

                    and

                2. This proposal does not include any costs which are expressly
                   unallowable under applicable cost principles of the FAR of its
                   supplements.

       61.      SSSI submitted the following Certificates of Final Indirect Rates containing the

above quoted certification language:

             a. CY2006: Dated June 28, 2007 and executed by Richard Caswell,
                Vice President – Finance and Chief Financial Officer;


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             b. CY2007: Dated June 27, 2008 and executed by Richard Caswell,
                Vice President – Finance and Chief Financial Officer;

             c. CY2008: Dated June 30, 2009 and executed by Richard Caswell,
                Vice President – Finance and Chief Financial Officer;

             d. CY2009: Dated June 30, 2010 and executed by Richard Caswell,
                Vice President – Finance and Chief Financial Officer;

             e. CY2010: Dated June 29, 2011 and executed by Corliss Montesi,
                CFO,VP Finance, SAS;

             f. CY2011: Dated June 27, 2012 and executed by Corliss Montesi,
                CFO,VP Finance, SAS; and

             g. CY2012: Dated June 26, 2013 and executed by Corliss Montesi,
                CFO,VP Finance, SAS.

                                            COUNT I
                   Against Derco for Violations of 31 U.S.C. § 3729(a)(1) (1986)
                              And 31 U.S.C. § 3729(a)(1)(A) (2009)

       62.      The United States re-alleges and incorporates by reference paragraphs 1-61, above.

       63.      Derco violated 31 U.S.C. § 3729(a)(1) (1986) and 31 U.S.C. § 3729(a)(1)(A)

(2009) by knowingly causing SSSI to present false claims for payment to the United States.

       64.      The false claims for payment which Derco knowingly caused SSSI to submit are

the public vouchers listed on Ex. B (Doc. No. 44-2).

       65.      The actions by Derco which caused SSSI to submit false claims for payment to the

United States were as follows:

             a. Agreeing to a subcontract with SSSI on a-cost-plus-a-
                percentage-of-cost basis knowing both that SSSI’s prime contract
                was with the Navy and that the cost-plus-a-percentage-of-cost form
                of subcontracting was illegal; and
             b. Submitting the invoices listed on Ex. A (Doc. No. 44-1) to SSSI,
                which included Derco’s hidden cost-plus-a-percentage-of-cost
                charges disguised as firm fixed prices, and which Derco expected
                and intended SSSI to seek payment or reimbursement for from the
                United States.


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       66.     For each action described in paragraph 65, above, Derco is liable to the United

States under the False Claims Act, 31 U.S.C. §3729(a)(1) (1986) or 31 U.S.C. § 3729(a)(1)(A)

(2009) for a penalty of between $5,500 and $11,000 and for three times the amount of damages

caused thereby.

                                               COUNT II
                     Against Derco for Violations of 31 U.S.C. § 3729(a)(1)(A) (2009)

       67.     The United States re-alleges and incorporates by reference paragraphs 1-61, above.

       68.     Derco violated 31 U.S.C. § 3729(a)(1)(A) by knowingly presenting false claims for

payment to a contractor of the United States knowing that the contractor was to be reimbursed by

the United States.

       69.     The false claims for payment Derco presented are those invoices on Ex. A (Doc.

No. 44-1) dated on or after May 20, 2009.

       70.     For each action described in paragraph 51, above, Derco is liable to the United

States under the False Claims Act, 31 U.S.C. §3729(a)(1)(A), for a penalty of between $5,500 and

$11,000 and is liable for three times the amount of damages caused thereby.

                                               COUNT III
                       Against SSSI for Violations of 31 U.S.C. § 3729(a)(1) (1986)
                                 And 31 U.S.C. § 3729(a)(1)(A) (2009)

       71.     The United States re-alleges and incorporates by reference paragraphs 1-61, above.

       72.     SSSI violated 31 U.S.C. § 3729(a)(1) (1986) and 31 U.S.C. § 3729(a)(1)(A) (2009),

by knowingly presenting false claims for payment to the United States.

       73.     The false claims for payment which SSSI knowingly presented to the United States

for payment are those public vouchers listed in Ex. B (Doc No. 44-2).

       74.     For each false claim for payment it presented to the United States identified in

paragraph 73, above, SSSI is liable to the United States under the False Claims Act, 31 U.S.C. §
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3729(a)(1) (1986) or 31 U.S.C. §3729(a)(1)(A) (2009), for a penalty of between $5,500 and

$11,000 and is liable for three times the amount of damages caused thereby.

                                             COUNT IV
                    Against SSSI for Violation of 31 U.S.C. § 3729(a)(1)(B) (2009)
                               And 31 U.S.C. § 3729(a)(1)(G) (2009)

       75.      The United States re-alleges and incorporates by reference paragraphs 1-61, above.

       76.      The knowingly false statements in Schulman’s August 5, 2009 email were material

to and were made to get false claims paid or approved, including public voucher BVN2573 and all

public vouchers reflected on Ex. B (Doc. No. 44-2) that SSSI submitted for payment on or after

August 5, 2009.

       77.      The knowingly false statements in Schulman’s August 5, 2009 email were made to

conceal and improperly avoid or decrease an obligation to pay or transmit money to the

Government, specifically each public voucher listed on Ex. B (Doc. No. 44-2) that the

Government paid before August 5, 2014.

       78.      SSSI is liable under 31 U.S.C. § 3729(a)(1)(B) (2009) for knowingly making a

false record or statement (Schulman’s August 5, 2009 email) to get false claims paid or approved

and is liable for a penalty of between $5,500 and $11,000 for three times the damages caused

thereby.

       79.      SSSI is liable under 31 U.S.C. § 3729(a)(1)(G) (2009) for knowingly making a

false record or statement (Schulman’s August 5, 2009 email) to conceal and improperly avoid or

decrease an obligation to pay or transmit money to the Government and is liable for a penalty of

between $5,500 and $11,000 and three times the damages caused thereby.




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                                             COUNT V
                     Against SSSI for Violations of 31 U.S.C. § 3729(a)(7) (1986)
                               And 31 U.S.C. § 3729(a)(1)(G) (2009)

       80.      The United States incorporates by reference paragraphs 1-61, above.

       81.      Each of the CY2006 to CY2012 Certificates of Final Indirect Costs identified in

paragraph 61, above, and submitted by SSSI were knowingly false because each included costs

SSSI knew were attributable to SSSI’s illegal cost-plus-a-percentage-of-cost subcontract with

Derco. Costs attributable to cost-plus-a-percentage-of-cost subcontracts are not allowable under

the FAR and such contracts (and therefore costs associated with them) are expressly unallowable

under FAR 52.244-2.

       82.      The CY2006 and CY2007 Certificates of Final Indirect Costs constitute false

records or statements knowingly made and used to conceal, avoid, or decrease an obligation to pay

or   transmit   money     or   property    to     the    Government, specifically the unallowable

cost-plus-a-percentage-of-cost charges from Derco that SSSI billed to United States in its public

vouchers and later included in the CY2006 and CY2007 Certificates of Final Indirect Costs, all in

violation of 31 U.S.C. § 3729(a)(7) (1986).

       83.      The CY2008 through CY2012 Certificates of Final Indirect Costs constitute false

records or statements material to an obligation to pay or transmit money or property to the

Government, or knowingly concealed and improperly avoided or decreased an obligation to pay or

transmit     money   or    property   to        the     Government,   specifically   the   unallowable

cost-plus-a-percentage-of-cost charges from Derco that SSSI billed to the United States in its

public vouchers and later included in the CY2008 through CY2012 Certificate of Final Indirect

Costs, all in violation of 31 U.S.C. §3729(a)(1)(G) (2009).




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       84.      SSSI is liable under the False Claims Act for a penalty of between $5,500 and

$11,000 for each of the CY2006 through CY2012 Certificates of Final Indirect Costs and is also

liable for three times the damages caused thereby.

                                           COUNT VI
                    Against SAC for Violations of 31 U.S.C. § 3729(a)(1) (1986)

       85.      The United States re-alleges and incorporates by reference the allegations in

paragraphs 1-61, above.

       86.      SAC knowingly caused SSSI to submit false claims for payment to the United

States, to wit the public vouchers submitted by SSSI identified in Ex. B (Doc. No. 44-2).

       87.      The acts which SAC knowingly engaged in that caused SSSI to submit the false

claims were as follows:

                a       Approving the plan to charge a 22% margin on material as
                reflected on the Cost Sheet signed by its executives;

                b.      The approval by its executives, including William Ochsner,
                of the cost-plus-thirty-two-percent-of-cost mark up between Derco
                and SSSI.

       88.      For each of the acts identified in paragraph 83, above, SAC is liable under the False

Claims Act for a penalty of between $5,500 and $11,000 and for three times the damages sustained

by the United States because of the act.

                                          COUNT VII
                   Against SAC for Violations of 31 U.S.C. § 3729(a)(1(B) (2009)

       89.      The United States re-alleges and incorporates by reference paragraphs 1-61, above.

       90.      SAC officials knowingly made the following false statements to get false claims

paid or approved by the United States:

             a. SAC falsely stated in the letter enclosing SSSI’s proposal that its
                principal subcontractors (including Derco) were selected using a
                method similar to the Navy’s method of selecting prime contractors
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                and that Derco was selected over outside contractors because it
                ensured the best value to the Navy.

             b. SAC falsely stated in the proposal that SSSI would accumulate costs
                in accordance with its disclosed cost accounting standards.

       91.      The above false statements were also made to induce the Navy to award the

contract to SSSI and were material to that decision.

       92.      For each false statement identified above, SAC is liable under the False Claims Act,

31 U.S.C. § 3729(a)(2) for a penalty of between $5,500 and $11,000 and for three times the

damages caused by the acts.

                                           COUNT VIII
                                  Unjust Enrichment Against Derco

       93.      The United States re-alleges and incorporates by reference the allegations in

paragraphs 1-61, above.

       94.      The     subcontract     between      Derco     and    SSSI     was     an       illegal

cost-plus-a-percentage-of-cost subcontract and was void ab initio under public policy.

       95.      Had the United States known that SSSI and Derco had an illegal

cost-plus-a-percentage-of-cost subcontract, it would not have provided funds for SSSI to pay

Derco for the charges Derco submitted thereunder.

       96.      Derco has been unjustly enriched at the United States’ expense and the United

States is entitled to recover all profits realized by Derco.

                                                COUNT IX
                                      Breach of Contract Against SSSI

       97.      The United States re-alleges and incorporates by reference the allegations in

paragraphs 1-61, above.

       98.      SSSI breached its contract no. N00019-06-D-0017 by:


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              a. Failing to follow consistently its disclosed cost accounting practices
                 as set forth on its January 1, 2004 Disclosure Statement;

              b. Awarding a cost-plus-a-percentage-of-cost subcontract to Derco;
                 and

              c. Submitting unallowable charges for T-34 and T-44 Aircraft parts
                 and material.

        99.      SSSI is liable to the United States for the damages caused by its breaches of

contract.

                                                 COUNT X
                                       Unjust Enrichment Against SSSI

        100.     The United States re-alleges and incorporates by reference the allegations in

paragraphs 1-61, above.

        101.     The     subcontract     between       Derco    and     SSSI     was      an   illegal

cost-plus-a-percentage-of-cost subcontract and was void ab initio under public policy.

        102.     Had the United States known that SSSI and Derco had an illegal

cost-plus-a-percentage-of-cost subcontract, it would not have provided funds for SSSI to pay

Derco for the charges Derco submitted thereunder.

        103.     SSSI has been unjustly enriched at the United States’ expense and the United States

is entitled to recover all profits realized by SSSI.


WHEREFORE, the United States demands the following relief:

        (a)      On Count I, judgment against Derco for three times the damages suffered by the

United States plus such civil penalties as are allowable by law;

        (b)      On Count II, judgment against Derco for three times the damages suffered by the

United States plus such civil penalties as are allowable by law;



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       (c)     On Count III, judgment against SSSI for three times the damages suffered by the

United States plus such civil penalties as are allowable by law;

       (d)     On Count IV, judgment against SSSI for three times the damages suffered by the

United States plus such civil penalties as are allowable by law;

       (e)     On Count V, judgment against SSSI for three times the damages suffered by the

United States plus such civil penalties as are allowable by law;

       (f)     On Count VI, judgment against SAC for three times the damages suffered by the

United States plus such civil penalties as are allowable by law

       (g)     On Count VII, judgment against SAC for three times the damages suffered by the

United States plus such civil penalties as are allowable by law;

       (h)     On Count VIII, judgment against Derco for the damages suffered by the United

States or, in the alternative, for Derco’s profits, plus prejudgment interest;

       (i)     On Count IX judgment against SSSI for the damages suffered by the United States

plus prejudment interest;

       (j)     On Count X, judgment against SSSI for the damages suffered by the United States

or, in the alternative, for SSSI’s profits, plus prejudgment interest; and

       (k)     Such other relief against the defendants or any of them as this Honorable Court may

deem necessary and proper.

                                               JOYCE R. BRANDA
                                               Acting Assistant Attorney General


Dated this 19th day of February, 2015.         /s/ James L. Santelle
                                               JAMES L. SANTELLE
                                               United States Attorney
                                               Eastern District of Wisconsin



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Dated this 23rd day of February, 2015.      /s/ Lisa T. Warwick
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